Case 1:21-cr-00585-CRC Document 63-14 Filed 01/19/24 Page1of1

AS Management

The Land Title Building

One Hundred South Broad Street

Suite 1300

Philadelphia, Pennsylvania 19110

Voice: 215-563-5616 Fax: 215-568-1987

January 5, 2024
Dear Honorable Judge Cooper,

My name is Alex Schwartz and I have been a commercial real estate entrepreneur in
Center City Philadelphia for over 20 years. I am writing to you on behalf of James
Douglas Rahm III and the character traits which I have witnessed over the years. I was
introduced to him through his father, James Rahm, with whom I have been dealing
since the early stages of my business ventures. James Douglas Rahm III, whom I call
JD, has distinguished himself as someone who is mature, reliable and trustworthy. Over
the span of my relationship with his father, we have worked together regularly on many
projects of varying sizes and scopes. I have no doubt that his assignments will be
handled with the utmost professionalism.

In my opinion, JD has always been considerate and compassionate towards others.
When I first learned of his arrest, I was shocked and in disbelief. These actions were
extremely out of character for him. I have spoken with him since the beginning of the
ordeal and I can see a clear sense of remorse and regret for his ill thought actions on
January 6, 2021.

I hope that you will take into consideration the extreme regret that JD has shown and
feels, and his wish to return to society as a law abiding and contributing citizen.

Sincerely,

Alex x hig

President
